         Case 2:20-cv-00851-TSZ Document 192 Filed 06/15/22 Page 1 of 4




 1                                                         HONORABLE THOMAS S. ZILLY
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 7
                                 UNITED STATES DISTRICT COURT
 8                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 9
     INTERNATIONAL BUSINESS                    Case No. 2:20-cv-00851-TSZ
10   MACHINES CORPORATION,
11
                                               JOINT CLAIM CONSTRUCTION AND
12                        Plaintiff,           PREHEARING STATEMENT

13             v.

14   ZILLOW GROUP, INC.; and
     ZILLOW, INC.,
15

16                        Defendants.
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                                                                         LAW OFFICES
     JOINT CLAIM CONSTRUCTION AND PREHEARING             HARRIGAN LEYH FARMER & THOMSEN LLP
     STATEMENT                                                 999 THIRD AVENUE, SUITE 4400
                                                               SEATTLE, WASHINGTON 98104
28   (CASE NO. 2:20-CV-00851-TSZ)                            TEL (206) 623-1700 FAX (206) 623-8717
          Case 2:20-cv-00851-TSZ Document 192 Filed 06/15/22 Page 2 of 4




 1          Plaintiff International Business Machines Corporation (“IBM”) and Defendants Zillow Group,
 2   Inc. and Zillow, Inc. (“Zillow”) respectfully submit this Joint Claim Construction And Prehearing
 3   Statement pursuant to Local Patent Rule 132 and the Court’s April 1, 2022 Minute Order Setting Trial
 4   Date And Related Deadlines (D.I. 189). The parties have met and conferred for the purposes of
 5   narrowing the issues and finalizing preparation of this statement pursuant to Local Patent Rules 131(c)
 6   and 132.
 7                          a.       Agreed Terms
 8          The parties agree to following construction for the term “user authentication” as it appears in
 9   claim 1 of U.S. Patent No. 7,631,346 (“’346 Patent”): “the process of validating a set of credentials
10   that are provided by a user or on behalf of a user.” The parties further agree that the preamble of the
11   ’346 Patent is limiting.
12                          b.       Disputed Terms
13          A Joint Claim Chart including each party’s proposed construction of each disputed claim term,
14   phrase, or clause of the ’346 Patent and of U.S. Patent No. 9,245,183 (“’183 Patent”), together with
15   an identification of all references from the specification or prosecution history that support that
16   construction, and an identification of any extrinsic evidence on which it intends to rely either to support
17   its proposed construction of the claim or to oppose any other party’s proposed construction of the
18   claim is attached as Exhibit A.
19                          c.       Ten Most Important Terms
20          The parties have identified the following terms as the most important terms for construction:
21                                   1.     “distributed data processing system” (’346 Patent, claim 1)
22                                   2.     “federated computing environment” (’346 Patent, claim 1)
23                                   3.     “protected resource(s)” (’346 Patent, claim 1)
24                                   4.     “single-sign-on operation” (’346 Patent, claims 1-4)
25                                   5.     “triggering a single sign-on operation on behalf of the user”
26                          (’346 Patent, claim 1)
27

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          Case 2:20-cv-00851-TSZ Document 192 Filed 06/15/22 Page 3 of 4




 1                                  6.      “a/said/the computer processor” (’183 Patent, claims 1, 5, 7, 8,

 2                           10, 11, 15, 17, 18, 20)

 3                                  7.      “condition score values” (’183 Patent, claims 1, 11, 20)

 4                                  8.      “image data” (’183 Patent, claims 1, 2, 3, 4, 5, 11, 12, 13, 14, 15,

 5                           and 20)

 6                                  9.      “real time condition values” (’183 Patent, claims 1, 11, and 20)

 7                                  10.     “retrieving in real time . . . image data” (’183 Patent, claims 1,

 8                           11, and 20).

 9          It may be appropriate to combine term numbers nine and ten above for the purpose of briefing

10   and/or argument.

11                           d.     Anticipated Time Necessary For Hearing

12          The parties request three hours for the Claim Construction Hearing.

13                           e.     Proposed Order Of Presentation

14          The parties propose to alternate which party presents first on a per-term basis. IBM would

15   present first for the first term argued, then the third term argued, and so on, while Zillow would present

16   first for the second term argued, then the fourth term argued, and so on. The parties further propose

17   to argue the terms in the order they appear above.

18                           f.     Live Testimony

19          The parties do not believe the Court need consider live testimony at the Claim Construction

20   Hearing. To the extent testimony is necessary, the parties anticipate that expert disclosures in the form

21   of declarations and/or deposition testimony will suffice to present to the Court the parties’ expert

22   witnesses’ testimony.

23          The declaration of Zillow’s expert Dr. Vijay K. Madisetti is attached as Exhibit B. IBM will

24   provide a rebuttal disclosure by the July 18, 2022 deadline. (See D.I. 189 at 1.)

25                           g.     Technical Tutorial

26            The parties propose that counsel for the parties present a brief technology tutorial at the

27   beginning of the claim construction hearing.

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 1                          h.       Pre-Hearing Conference

 2           The parties do not believe a pre-hearing conference, prior to the Claim Construction Hearing,

 3   is necessary.

 4                          i.       Independent Expert

 5           The parties do not believe this case requires the appointment of an independent expert.

 6            Dated: June 15, 2022
 7    SUSMAN GODFREY LLP                              HARRIGAN LEYH FARMER & THOMSEN LLP
 8
      By:   s/Ian B. Crosby                           By: s/Arthur W. Harrigan, Jr.
 9    By:   s/Daniel Shih                             By: s/Tyler L. Farmer
      By:   s/Edgar G. Sargent                        By: s/Bryn R. Pallesen
10    By:   s/Katherine Peaslee                            Arthur W. Harrigan, Jr., WSBA #1751
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